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                                 EXHIBIT 306
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                          UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF CALIFORNIA


                                               >

           THE ESTATE OF RUBEN NUNEZ,          )
           ©t al.,                             )
                                               )
                         Plaintiffs,           )
                                               >

           vs.                                ) Case No. 16-CV-1412-
                                                         BEN (HDD)
           COUNTY OF SAN DIEGO, et al,,
                                               )
                         Defendants.           )



           COUNTY OF SAN DIEGO, et al.,        )
                                               )
                    Cross-Claimants,           )
                                               )
           vs.                                 )
                                               >

           CORRECTIONAL PHYSICIANS MEDICAL     )
           GROUP r INC,, et al. r              )
                                               )
                    Third-Party Defendants.    )




                VIDEO DEPOSITION OF ROGEL NOTARTE TINGZON, RN
                            San Diego, California
                                 May 16, 2017
            Reported by Gina Marie De Luca, CSR No. 6973, PMR, CRR
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         1    orientation in doing medical intake, after that, how

         2    often would you yourself, then, do medical intake as a

         3    nurse?
         4          A.   Be perhaps once ox twice a week.

         5          Q*   And would that be true, once or twice a week

         €    you would do medical intake, in the year 2015 as well?
         7          A.   Zes.

         8          Q.   Now, as a medical intake nurse, have you ever

         9    done medical intake for prisoners who have transferred

         10   from Patton State Hospital?

         11          »   Yes.

         12         Q.   And in that regard, are you familiar with

         13   what's called a "discharge summary"?

         14         A.   Yes.

         15         Q<   Tell me what a discharge summary is.

     •   16         A.   A discharge summary is a medical record that

         17   came from -- or it comes from & medical               another

         16   medical facility such as a hospital, clinic, or

         19   pharmacy.    So they '-- they — they often bring that to

         20   US.

         21         Q.    And what is the purpose of a medical discharge

         22   summary as you understand it?

         23         A.    For continuance of care.

         24         Q.    Continuity of care?

         25         A.    Y&a.



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       1        Q.      To make sure that the patient has the same

       2    treatment so that he will be or she will be properly

       3    treated.
       4                MR. KISH:     Objection; assumes facts, incomplete

       5    hyp-        incomplete hypothetioal.

       6    BY MR. IREDAIE:

       7        Q.       Correct?

                         Ms. Tingzon, the purpose for continuity o£ care

       9    is to make sure that the person gets the proper care?

      10                 MR. KISH:     Same objections.
      11                 THE WITNESS:      Yes.

      12    BY MR. IREDALE:
      13           Q.    Now, as the intake nurse/ what information from
       14   the nursing discharge suznmary are you supposed to

       15   include in the JIMS computer?

       16                MR. KISH.:    Objection; assumes facts.

       17   BY MR. IREDALE:

       16          Q.    You may answer.
       19          A.    The medication and the orders from the doctor.
       20          Q>    And any other information other than medication

       21   and orders from the doctor that you were trained to put

       22   into the JIMS system from a nursing discharge summary?
       23          A.    Pretty much -- yeah, just the medication.

       24          Q.    if there was any medical condition that

       25    required an alert, was that supposed to be something



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       1                 Okay.    So the discharge summary, especially
       2      from Patton —
       3          Q.

       4           •     —• or other psychiatric institutions — the
       5      intake nurse norma- — typically makes a copy of those.
       6      So the original goes to the PSU, and the -- the copy

              itself goes to the medical screening.
       e          Q.     So, in other words, when you did the medical
       9      screening, you had a copy of the nursing discharge
      10      summary?
      11          A.     Yes.
      12          Q.     Now, let me talk to you about that.
      13                 You —• you were the person who checked his

      14      vital signs?       Were you the person who checked his vital
       15     signs as shown here on the medical question form?

       16         A.     On this one, yes.
       17         Q.     Yes.
       18                Did you do that examination?
       19.        A.     Tes.
       20         Q.     And so you took his temperature and his blood

       21 -   pressure; is that true?
       22         A.     Yes.
       23         Q.     His weight you reflect as 175.

       24         A.     Correct.
       25          Q.    Is there a scale there so that you weigh the



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       1          Q.    Let me, if I could, show you Exhibit 19 and ask

       2      if you recognize it as being the nursing discharge
       3      summary which you had on the day you did the medical
       4      screening for Mr. Nunez from Patton State Hospital.
       5                MR. KISH:   Make sure you look at all the
       6      documents.   He's asking about all the exhibit.-

       7      BY MR, IREDALE:
       e          Q.    Is that a copy of the dooument that you had
       9      from Patton on the day you did the screening?
      10          A.    Yes.
       11         Q.    And now let me go to the other questions that.
       12     you ask and the answers that- are recorded.
       13               The second question is "Do you have any

              previous mental health history?"
       IS               Do you see that?
       16         A.    Yes.
       17 '       Q.    And the answer is reflected as being "No."
       18               Did the patient tell you "No" when you asked if
       19     he had previous mental health history?
       20         A.    X don11 remember.
       21         Q.    All right. Do you know where you got that
       22     answer/ "No," that you put in the left-hand column
       23     there?
       24          A.   I'm sorry, but I cannot remember if — because
       25     it was too longf I cannot remember.



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       1       A.    Yes.

       2       Q.    "Induration"       or "lO-millimeter induration"

       3    means the size of the swelling that took place?

       4        A.   Yes.

       5        Q.   "Water intox,n     What does "water intox" mean?

       6        A,   Sorry, but I don't remember.

       7        Q.   At the time when you saw this document f did you

       8    look where it said "Alerts" and read that?

       9        A.   Can you elaborate, please.
      10        Q.   Yes.

      11             When you review the medical discharge summary

      12    from Patton —

      13        A.   Yes..

      14        Q.   And you've seen these discharge sunsmarios from

      15    Patton in the course of your work in the past?

      16        A.   Yes.
       17       Q.   And the form itself, that is to say, the

       18   printed material, is standard; right?

       19       A.   Yes.

       20       Q.   And my question is where it says "Alerts"

       21   you understand that where it says "Alerts," that's

       22   referring you to a medical issue or a medical problem

       23   that the institution --in this case, the jail -- should

       24   be aware of?

       25            MR. KISH:     Objection; assumes facts, compound.



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       1    BY MR. IKEDALE;
       2        Q.         Tour answer?

       3        A.         Ho, I don't -- 1 don't remember seeing that

       4    "Alerts."

       5        Q.         You -- do you know — well, let me just ask

       6    you.        You don't remember seeing the "Alerts" on this

       7    document?

       e           A.      Yes.

       9           Q.      And you don't remember reading "water intox"?

      10           A.      No.
      11           Q.      And you don't know what "water intoxication"

      12    means?

      13           A.      I don't remember.

      14           Q.      Did you know it at the time? Did you know the
                                                                                     i
      15    meaning of "water intoxication" in August of 2015?

      16           i&h «   No, I don't remember.

       17          Q.      Did you ask anybody, "What, is 'water

       18   intoxication'?"

       19          A.      No, I don't remember.

       20          Q.      Do you have access to your cell phone,in your             j



       21   job?

       22          A.      In medical screening, they don't have any

       23   Wi-Fi.         So I don't have any access.

       24           Q.      All right.    Did you do anything to look up the

       25    meaning of the word "water intoxication"?



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         1                 MR. IREDALE:    It's all right.      It's of no great

         2    moment.      Let's — let's pass on it.

         3    BY MR. XREDALE:
         4        Q-       Could I refer you to page 2 of 3 of that
         5    document, where it says "2 of 3" at the bottom.
         6        A.       Yes.
         7        Q.       There is a part of this form that,talks about
         8    Current Medical Problems/Focus of Treatment.
         9                 Do you see that?
         10        •       Oh, right.     It does, yes.
         11       Q.       Do you know what "Current Medical
         12   Problems/Focus of Treatment" means?
         13       A.       It says the current treatment.
         14       Q.       Yes.
         15                And "current medical problem" — what does that

         ^    mean to you?
         17       A.       Their medical problem.
         18       Q.       Yes.
         19                And do you see where it says "6.3 Water
         20   Intoxication = Height Adjustment"? Do you see that?
         21            *   Yes, I can see it.
     •   22       Q.       Bid you read that on the 7th of August when you

         23   did the medical screening?
         24       A.       Ho, I don't remember seeing that.
         25        Q.       Where it says "Significant Medical History1' -



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      1    you see, at the bottom. o£ that, it says "Other" and, on

      2    the Cormnent portion, "water intox."

      3                   Do you see that?

      4          A.       Yes, sir.

      5          Q•       Did you review that and see that water intox

      6    was listed that second time on this page?

      7                   Can you please elaborate.

      8          Q•       Yes.

       9                  Do you see where it says "water intox" on the

      10   form?

      11         A.       This one?

      12         Q«       Yes, ma'am.

      13              b   I saw the paper, but I don't remember seeing

      14   the

      15         Q.       You don't remeiDber seeing "water intox"?

      16         A.       Yes.

      17         Q.       And at least as of now, you don't know what

      18   "water intoxication" is?

      19                  MR. KISH:     Objection; asked and answered.

      20   BY MR. IREDALE:

      21         Q'       Is that right?                                            i



                                                                                    i
      22         A.       I don't remember.

      23          Q.       Okay.   And then let me refer you to a third

      24    part of this document.

      25                   You see where it says "Special Precaution



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      1    (Specify)" at the bottom of the page?
      2        A.     Yes.
      3        Q.     Tell me what your understanding of the moaning
      4    "special preaaution" is.
      S        A.     Precaution. Precautionary measure.
      6               THE REPORTER: Precaution — I'm sorry?
      7               THE WITNESS: Precautionary measure about

           the -- about the treatment for the patient.
      9    BY MR.. IREDALE:
     10        G.     In other words, this is something you need to
     11    be aware of and take as a precaution to avoid a serious
     12    problem?
     13        A,     Yes.
     14               MR. KISH:    Objection.
      15   BY MR. IREDALB:

      16       Q.     Yes?

      17              MR. KISH: Objection; misstates testimony,
      18   assumes facta, incomplete hypothetical.

      19   BY MR. IREDALE:
      20        Q.    And your answer "yes"?
      21        A.    Yes.
      22        Q.     And where it says "Special Precaution," you see

      23    it says "Latent TB"?
      24        A.     Yes.
      25        Q.     And you also see where it says "water intox"



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      1    there?

      2         A.   Yes, I can see it right here.

      3         Q.   All right. And after -- did you read it?

      4    VJhsre it said "Special Braaaution:       water intox," did

      S    you read that?

      6         A,   As 1 said, X got the paper, but I didn't — I

      7    don't remember seeing the — the
      8         Q•   Water intox?

      9                 intoxicated.
     10         Q•   All right.     Let's go, if we oould, to page 3 of
     11    3,
     12              Have you ever heard the term "polydipsia"?
     13              Yes.

     14         Q.   Tell me what "polydipsia" means.

     15              A person has the tendency to drink.,
     16         Q.   To drink water?
     17         A.   Hater.
     16         Q•   And that they drink so much water that it can
     19    be even fatal to them?
      20        A.   Yes.
      21             When did you learn what polydipsia was?
      22        A.   In nursing school.
      23        Q.    Tell me what you learned in nursing school
      24   about polydipsia.
      25        A.    Can you please elaborate.



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      1    BY MR. IREDALE:
      2        Q•     Tell me what "hyponatremia" is.
      3        A.     That means that sodium level is low than the
      4    average.
      5        Q.     And the normal sodium level is what?
      6        A.     Xt ranges between 135 and to 145.
      7        Q-     And so if it's below 135, it would be
      0    considered low?
      9        A.     Yes, sir.
     10        Q.     Now, may I refer you to page 3 of 3.
     11               And do you see where it says "Nursing Treatment
     12    Summary" there?
     13               Oh.    Yes.
      14       Qt     Let me, if I could, just refer you to the last

     15    three lines.                               i



      16              You see it says "Minimal participates with his

      17   treatment.       Remain with watwe," w-a-t-w-e,

      19   "intoxication.      Weight four times a day before meals.

           Remain within protocol limits.            Sodium level is 141
      20   millimoles per liter on 7/14/15."
      21              First, did I read properly what is there on the

      22   form?
      23       A.     Yes, I believe.
      24              Did you read that when you did the medical
      25   screening on August the 7th of 2015 for Mr. Nunez?



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    1   is written:    "Instructions Given to."            And then there is
    2   a mark beside "Patient."         And then it says "documents
    3   faxed to receiving facility and copies provided to

    4   California Department of Correction and Rehabilitation

    5   escorting officer.       Receiving facility to follow up

    6   treatments, medications recommendation as stated, and

    7   the facility needs to follow up with their own

    8   Court-Ordered Meds for patient."

    9              Did I read properly from that?

   10              Yes.

   11        Q•    And so you understood that the receiving

   12   facility was to follow up treatments, medication, and

   13   recommendation as stated?

   14              MR. KISH:     Objection; assumes facts.

   15   BY MR. IREDALE:

   16        Q.    Is that true?

   17        A.    If it state right there --

   18        Q.    Yes.

   19                 yes.

   20       Q,     And then it says "If there are any questions or

   21   concerns, call Patton State Hospital at (909) 425-7000";

   22   correct?

   23        A.    Yes.

   24        Q•    Did you call Patton State Hospital in

   25   connection with any questions regarding this form that




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      1      we have before you?
      2          A,    No, I didn't.
      3          Q.    Have you ever, in the course of your work as a
      4      nurse at the jail, aalled to Patton State Hospital with
      5      any questions regarding the treatment of a patient from
      6      Patton?
      7          •2^   I have not.
       8         Q•    May I refer you to the next page.          It says at
       9     the top "DSH Monthly Psychiatric Progress Note."
      lo               Under "Subjective complaints, Psychiatric
     11      Symptoms and Interval History," which is in the middle
     12      of the page, it reads, in the last two lines, "Mr. Nunez
      13 "   remains on a Water Intox Protocol and is weighed by a
      14     nurse before each meal.1'
      15               Do you see that?
      16         A.    Oh.   Yeah, yeah.
      17         Q.    Do you see that?
      18         A.    Yes, I can see it.
      19         Q.    Did you know what a water intox protocol was?
     •20         2^    No, X donr t.
      21          Q•   And did you ask anybody on that date, the 7th
      22     of August, what a water intoxication protocol was?
      23               I don11 remember.
      24          Q.   It says "is weighed by a nurse before each
      25     meal.»



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      1       Q.     "Informed inmate/patient that he will be seen
      2    by psych for follow up"?
      3        A.    Yea,
      4        Q>    "Exercise as tolerated and drink plenty of
      5    water."
      s              Is that what you told the patient?
      7        A.    Yes,    On my charting, it says.
      8        Q     And so he then told you he understood^ and he
      9    agreed to the plan?
     10        A.    Yes, I --
     11        Q.    Yes.
     12              And did he tell you that he would exercise and
     13    that he would drink plenty of water?                                    i

     14        A.    I don11 remember if he —
     15        Q.    When you studied polydipsia in nursing school,
      16   you understood that it was a serious medical condition?
      17             MR. KISH: Objection; vague.
      18   BY MR, IREDALE:
      19       Q.    Yes?
      20        A.   I don1^ —• can you please elaborate.
      21        Q.    Yes.
      22              You understood that people who have polydipsia
      23    and drink to excess can die?

      24        A.    Yes.
      25        Q.    And that's a serious medical condition?



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      1                I, Rogel Noteirto Tingzon, RN, do hereby declare
      2     under penalty of perjury under the laws of the State of
      3     California that I have read the foregoing transcript;
      4     that I have made such corrections as noted herein, in
      5     ink/ initialed by me, or attached hereto; that my
      6     testimony as oontained herein, as corrected, is true and

      7     correct.
      8                Executed this         day of
      '^
            at
      10

      11

      12                           Rogel Notarte Tingzon, RN

      13

      13

      IS

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       1                   CERTIFICATES OF REPORTER
       2
       3            I, GINA DE-LUCA, a Certified Shorthand
           Reporter, holding a valid and current license issued by
       4   the State of California, CSR No. 697,3, duly authorized
           to administer oaths, do hereby certify:
       5            That the witness in the foregoing deposition
           was administered an oath to testify to the whole truth
       €   in the within-entitled cause;
                    That said deposition was taken down by me in
       7   shorthand at the time and place therein stated and
           thereafter transcribed into typewriting, by computer,
       B   under my direction and supervision.
       9            ( X ) Reading and signing was requested.
      10            (   ) Reading and signing was waived.
      11            ( ) Reading and signing was not requested.
      12            Should the signature of the-witness not be
           affixed to the deposition, the witness shall not have
      13   availed himself/herself of the opportunity to sign or
           the signature has been waived..
      14            I further certify that I am neither counsel for
           nor related to any party in the foregoing depositions
      IS   and caption named nor in any way interested in the
           outcome thereof.
      16
      17
      18   Dated:   This 29th day of May 2017
      19            at San Diego, California.
      20
                                            rfrtw
      21

      22
                                                                       z
                                                               •ftsBr**-1
      23                                G^-na Mara? De Luca
      24                                CSR No. 6973, RMR, CRR
      25



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